UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
CARLA WOODS and JEFFERY GOLDBERG, as :
Stockholders’ Representative and Trustees of the                :   PERMANENT
Bionics Trust,                                                  :   INJUNCTION
                                         Plaintiff,             :
                                                                :   06 Civ. 5380 (AKH)
             -against-                                          :
                                                                :
BOSTON SCIENTIFIC CORPORATION,                                  :
                                                                :
                                         Defendant.             :
--------------------------------------------------------------- x
ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Upon the Report and Recommendation dated November 1, 2006 of United

States Magistrate Judge Theodore H. Katz, adopted after de novo review and upon my

Amended Opinion and Order dated February 9, 2007, and upon the preliminary

injunction, issued February 20, 2007, and upon my Orders dated March 9, 2007 and

April 23, 2007, having held that Defendant Boston Scientific Corporation breached the

Agreement and Plan of Merger among Boston Scientific Corporation, Scimed Life

Systems, Inc., Claude Acquisition Corp., Advanced Bionics Corporation, Bionics Trust

and Alfred E. Mann, Jeffrey H. Greiner, and David MacCallum, Collectively in Their

Capacity as Stockholders’ Representative Dated as of May 28, 2004 (“Merger

Agreement”), and that there exists no adequate remedy at law, and that Plaintiffs are

entitled to injunctive relief as provided below, and that no triable issues of material and

relevant fact remain, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

                 1. Boston Scientific Corporation and its officers, agents, servants,

employees, attorneys, successors and assigns, and all persons, firms and corporations in

active concert or participation with Boston Scientific who receive actual notice of this




                                                    1
